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                          UNITED STATES DISTRICT COURT
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           CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
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     JOHN ROE 1, an individual; JANE          Case No. 8-22-CV-00983-DFM
15   ROE 1, an individual; JANE ROE 2 an
     individual; JANE ROE 3, an individual,   [PROPOSED] ORDER GRANTING THE
16   JOHN ROE 2, on behalf of themselves      STATE BAR OF CALIFORNIA’S
     and all others similarly situated,       SUPPLEMENTAL MOTION TO DISMISS
17                                            PLAINTIFFS’ SECOND AMENDED
                    Plaintiffs,               COMPLAINT
18         v.
                                              Courtroom: 6B
19   THE STATE BAR OF CALIFORNIA;             Judge:     Hon. Douglas F. McCormick
     TYLER TECHNOLOGIES, INC.;                Date:      [The Clerk of Court will
20   RICK RANKIN; and DOES 4 through          Time:      reach out to set a hearing
     10, inclusive,                                      date, (Dkt. 110)]
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                    Defendants.
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                                                                       [PROPOSED] ORDER
                                                            CASE NO. 8-22-CV-00983 -DFM
Case 8:22-cv-00983-DFM     Document 113-9 Filed 11/21/22        Page 2 of 2 Page ID
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 1                                 [PROPOSED] ORDER
 2         Having considered The State Bar of California’s Supplemental Motion to
 3   Dismiss Plaintiffs’ Second Amended Complaint (the “Supplemental Motion”), all
 4   other matters presented to the Court, and good cause appearing, the Court finds that
 5   Plaintiffs’ claims under Sections 1 and 2 of the Sherman Antitrust Act fail as a matter
 6   of law and GRANTS the Supplemental Motion in its entirety.
 7         IT IS HEREBY ORDERED THAT:
 8         The Fourth and Fifth Causes of Action alleged in Plaintiffs’ Second Amended
 9   Complaint, (Dkt. 100), are dismissed with prejudice.
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11         IT IS SO ORDERED.
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13   Dated: ________________________            _________________________________
14                                               HON. DOUGLAS F. MCCORMICK
                                                      MAGISTRATE JUDGE
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                                                                             [PROPOSED] ORDER
                                               1                   CASE NO. 8-22-CV-00983-DFM
